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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

    IN RE:                                     )
                                               )         CASE NO.19-50470-WLH
    JASON ELLIOTT MORRIS                       )
    AND PATRICIA WHITMORE                      )
    MORRIS,                                    )
                                               )         CHAPTER 7
                       Debtors.                )

                             APPLICATION TO EMPLOY PROFESSIONAL


           COMES NOW, Tamara Miles Ogier as Trustee of the bankruptcy estate captioned

   above who shows this Honorable Court the following:

                                                    1.

           This Application is made pursuant to Bankruptcy Code Section 327 and Bankruptcy Rule

   2014.

                                                    2.

           The above-captioned bankruptcy has asserted an interest in and to real property located

   at 110 National Drive, Duluth, Georgia 30097.

                                                    3.

           The Trustee believes there is equity in the property for the benefit of this Estate and

   wishes to market and sell the property.

                                                    4.

           The Trustee of this Estate desires to employ the services of PalmerHouse Properties

   (hereinafter “PalmerHouse”) and agent Robyn Binger to market and sell the property.

                                                    5.

           PalmerHouse has offices located at 2800 N Druid Hills Road, Atlanta, Georgia 30329.
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                                                    6.

           To the best of Applicant's knowledge, PalmerHouse and Robyn Binger have no relation

   or connection to the Debtor(s), have no business, professional, or other connections with the

   Debtor(s), creditors and parties in interest, their respective attorneys and accountants, the United

   States Trustee, or persons employed by the United States Trustee in this proceeding except that

   PalmerHouse and Robyn Binger acted as the real estate agent for Tamara Miles Ogier in her

   individual capacity in the sale of her personal residence and the purchase of a new residence in

   2012 and 2013. Robyn Binger is not related to any Judge of the Court, or so connected now or

   in the past with any Judge as to render such appointment improper.

                                                    7.

           To the best of the Applicant's knowledge PalmerHouse and Robyn Binger are duly

   licensed pursuant to the laws of the State of Georgia.

                                                    8.

           The total commission for the sale of the property shall not exceed six percent (6%) of

   the sales price of the property and shall be paid from the proceeds of sale of the real estate.

                                                    9.

           A six percent percent commission is a standard commission for the sale of residential

   property in the State of Georgia.
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          WHEREFORE, the Trustee respectfully requests this Honorable Court approve this

   Application to Employ PalmerHouse and agent Robyn Binger and to compensate said Company

   upon the terms and conditions as aforesaid for the sale of the real property.



                                          OGIER, ROTHSCHILD & ROSENFELD, P.C.

                                          By: /s/ Tamara Miles Ogier
                                             Tamara Miles Ogier
                                             Georgia Bar No. 550355
   P.O. Box 1547
   Decatur, Georgia 30031
   (404) 525-4000
   tmo@orratl.com
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                                   CERTIFICATE OF SERVICE


            This is to certify that on March 14, 2019 a true and correct copy of the within and

   foregoing APPLICATION TO EMPLOY PROFESSIONAL was served upon the following

   parties by U.S. Mail, first class, postage prepaid to:


   United States Trustee
   362 Richards Russell Building
   75 Ted Turner Drive SW
   Atlanta, GA 30303

   Jason Elliott Morris
   110 National Drive
   Duluth, GA 30097

   Patricia Whitmore Morris
   110 National Drive
   Duluth, GA 30097

   Will B. Geer
   Wiggam & Geer, LLC
   333 Sandy Springs Circle NE
   Suite 225
   Atlanta, GA 30328

   Robyn Binger
   PalmerHouse Properties
   2800 N Druid Hills Rd
   Atlanta, Georgia 30329


                                          OGIER, ROTHSCHILD & ROSENFELD, P.C.


                                          By: /s/ Tamara Miles Ogier
                                             Tamara Miles Ogier
                                             Georgia Bar No. 550355
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